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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION

   EPIC GAMES, INC.,                                 Case No. 4:20-cv-05640-YGR-TSH
                Plaintiff, Counter-defendant,
                         v.
   APPLE INC.,                                       RESPONSE TO APPLE’S OBJECTIONS
                    Defendant, Counterclaimant.      TO SPECIAL MASTER RULINGS ON
                                                     APPLE INC.’S PRODUCTIONS OF RE-
                                                     REVIEWED PRIVILEGED
                                                     DOCUMENTS


The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
 Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
 short response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed
 on February 18, 2025. (Dkt. 1244.) Epic does not have access to the underlying
 documents and is therefore unable to fully assess the bases on which Apple claims
 privilege; Epic responds to Apple’s Objections on the limited information provided in
 Apple’s privilege logs for the documents.
  ●    Entry No. 1787 (PRIV-APL-EG_00165956)—Apple claims in its Objections that this
       document is a chart containing a list of various App Review Guidelines including
       “feedback from attorneys on binding Guidelines for developers”. (Dkt. 1244 at 2.)
       Apple further claims that “[g]iven that the chart was sent to and includes feedback
       from attorneys on binding Guidelines for developers, the entirety of this chart is
       privileged”. Id. But in the privilege log it submitted to the Special Masters, Apple did
       not claim that any part of this document is privileged; it only asserted work product
       protection. The Special Master appropriately overruled that assertion of protection,
       finding that “the log entry and the document do not demonstrate that this document
       reflects [protected] work product”. Indeed, neither Apple’s privilege log nor its
       Objections so much as mention any litigation the document was intended to further or
       otherwise anticipates. Apple may not, in its Objections, rely on an assertion that is
       entirely different from the one it presented to the Special Masters. See (Dkt. 1039 at
       2) (finding that a work product claim not raised in the privilege log or considered by
       the Special Master was waived).
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    ●    Entry No. 1800 (PRIV-APL-EG_00166278)—Apple claims this document is a chart
         prepared by outside counsel assessing the possible outcomes of the May 2024
         evidentiary hearing. Again, none of that appears in Apple’s privilege log, nor does the
         privilege log identify any attorneys involved. The document custodians are all non-
         attorneys (Geoff De Wilde, Timothy Kim, Latika Kirtane, and Kunnal Vij). The
         Special Master ruled that portions of the document are not privileged or protected and
         should be produced with appropriate redactions, and nothing in Apple’s Objection
         suggests that conclusion was incorrect.1
    ●    Entry No. 3989 (PRIV-APL-EG_00190369)—This document is supposedly an email
         discussion among Marni Goldberg, a non-lawyer communications professional, and
         Apple in-house attorneys Heather Grenier, Jennifer Brown and Alanna Rutherford.
         Apple represents that Ms. Goldberg “requests feedback on language to be used during
         an upcoming earnings call regarding this case”. (Dkt. 1244 at 4.) But the e-mail is
         apparently a chain, the topic—the language at issue for an earnings call—is clearly a
         business topic, and whatever language is chosen would be broadcast to the public by
         communications professionals and business executives. The Special Master ruled that
         portions of the document are not privileged or protected and should be produced with
         appropriate redactions, and nothing in Apple’s Objections suggests that conclusion
         was incorrect.
    ●    Entry Nos. 4513 (PRIV-APL-EG_00194770) and 4570 (PRIV-APL-EG_00195630)—
         These documents appear to be two versions of the same email thread among numerous
         non-lawyers and in-house attorneys. All of the document custodians are non-legal
         personnel (Jeff Guebert, Trystan Kosmynka, Amy Hawthorne, Zach Friedland, Latika
         Kirtane, Dave Van Tassell). The Special Master ruled that the documents should be
         produced with appropriate redactions, noting in Entry No. 4570 that “non-lawyer to
         non-lawyer communication re functionality is not legal advice”. Apple has not
         provided any compelling reason to suggest this ruling should be disturbed.




    DATED: February 20, 2025                                  CRAVATH, SWAINE & MOORE LLP
                                                              By: /s/ Yonatan Even
                                                              Counsel for Plaintiff Epic Games, Inc.




1
 Epic’s position is that having found Apple’s assertion to be overbroad, the Special Master could (and likely should)
have simply overruled it (see Dkt. 1092 at ¶ 1(d) (“The Special Masters will . . . determine whether to overrule or
sustain each of Apple’s privilege assertions)) rather than allow Apple a re-do.
